






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00599-CV






SWEPI LP, Appellant


v.


Railroad Commission of Texas and Betty Eyhorn, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-06-003322, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M    O P I N I O N



		The reporter's record was filed in this accelerated appeal on February 12, 2007. 
Appellant's brief was due to be filed by March 5, 2007.  See Tex. R. App. P. 38.6(a).   By notice
dated April 2, 2007, this Court's clerk notified appellant that its brief was overdue and that this Court
would dismiss this appeal unless appellant filed a brief or a motion for extension by April 12, 2007. 
Appellant has filed neither and there has been no other activity in this case.  This appeal is dismissed
for want of prosecution.  See Tex. R. App. P. 42.3(b).


						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   June 18, 2007


